Case 2:17-cv-08937-DMG-FFM Document 51 Filed 12/27/18 Page 1 of 1 Page ID #:638




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                          UNITED STATES DISTRICT COURT

 9                       CENTRAL DISTRICT OF CALIFORNIA

10                                 WESTERN DIVISION
11   CRYTEK GMBH,                               )      Case No.: CV 17-8937-DMG (FFMx)
                                                )
12                             Plaintiff,       )      ORDER EXTENDING
                                                )      PLAINTIFF’S DEADLINE TO
13                v.                            )      AMEND THE COMPLAINT [50]
                                                )
14   CLOUD IMPERIUM GAMES CORP.                 )
     and ROBERTS SPACE INDUSTRIES               )
15   CORP.,                                     )
                                                )
16                             Defendants.      )
                                                )
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19         The Court, having reviewed the Parties’ Joint Stipulation to Extend Plaintiff’s
20   Deadline to Amend the Complaint, and for good cause appearing, hereby ORDERS that:
21         The December 27, 2018 deadline for Plaintiff to file a Third Amended Complaint,
22   or notify Defendants and the Court that it does not intend to amend, is extended to and
23   including January 17, 2019.
24         IT IS SO ORDERED.
25
26   DATED: December 27, 2018                       ________________________________
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                                                    DOLLY M. GEE
                                                    UNITED STATES DISTRICT JUDGE
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